 1    MICHELSON LAW GROUP
      Randy Michelson (SBN 114095)
 2    220 Montgomery Street, Suite 2100
      San Francisco, CA 94104
 3    Telephone: 415.512.8600
      Facsimile: 415.512.8601
 4    Email:     randy.michelson@michelsonlawgroup.com

 5    Attorneys for Liquidating Trustee
      Randy Sugarman
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 8                                UNITED STATES BANKRUPTCY COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10

11    In re                                                  Case No. 16-30063 DM

12    YELLOW CAB COOPERATIVE, INC.,                          Chapter 11

13                             Debtor.

14                                                           OBJECTION TO CLAIMS BY
                                                             OWNERS; NOTICE AND
15                                                           OPPORTUNITY FOR HEARING

16                                                           Omnibus Objection #6 by Liquidating
                                                             Trustee
17
                                                             [No Hearing Unless Requested.]
18
                                                             Claimants receiving this objection
19                                                           should located their names and claims in
                                                             the objection.
20

21            Randy Sugarman, the court-approved Liquidating Trustee (the “Liquidating Trustee”) of
22 the bankruptcy estate of debtor Yellow Cab Cooperative, Inc. (the “Debtor”), hereby objects to

23 the claims filed in the Debtor’s former owners (the “Owner Claims”) pursuant to Bankruptcy

24 Rule 3007(d)(7). The Owner Claims are as follows:

25     Exhibit    Claim    Claimant         Date Filed   Amount           Notes
                  No.      (alphabetical                 Asserted
26                         by last)
          I       368      Kashmir          10/11/17     $13,500.00       Late-filed
27                         Singh Deol
28

     Objection to Claims by Owners                                                                      1
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 1        A       37       Diana            2/18/16       unknown      Asserts basis of claim is ½ interest
                           Graham                                      in Yellow Cab Medallion
 2        C       273      Earl F.          5/16/16       $31,152.00   Alleges $7,800 in priority under
                           Moore                                       507(a)(4) and $23,352.00 in priority
 3                                                                     under 507(a)(4) with the “4”
                                                                       handwritten under “Other”;
 4                                                                     Attaches “Associate Agreement”
                                                                       dated 3/13/13
 5        D       274      Earl F.          5/16/16       $6,200.00    Alleges post-petition amount
                           Moore                                       owing; Alleges Priority Claim
 6                                                                     under 507(a)(4); Attaches
                                                                       “Associate Agreement” dated
 7
                                                                       3/13/13
 8        F       287      William          2/27/17       $35,000.00   Alleges claim is “based on a lease”
                           Morrow                                      with $35,000 necessary to cure;
 9                                                                     Late-filed
          G       288      William          2/27/17       $33,000.00   Alleges claim is “based on a lease”
10                         Morrow                                      but not cure amount noted; Late-
                                                                       filed
11        E       286-3    Octavius         3/28/17       $30,000.00   Informal Proof of Claim as email to
                           Nash             (Orig filed                Courtroom Deputy; Attaches “Full
12                                          2/27/17)                   Association Agreement” dated
                                                                       5/25/10; Late-filed
13        B       272      Peter Witt       5/16/16       $30,000.00   Alleges claim is “based on a lease”
                                                                       with $30,000 necessary to cure;
14                                                                     Attaches “Full Association
                                                                       Agreement” dated 8/25/06
15
          H       293      Kifali Yosief    6/12/17       $30,000.00   Alleges the basis of the claim is
16                                                                     “breach of contract”; Attaches
                                                                       “Association Agreement” dated
17                                                                     3/3/88; Late-filed

18 In accordance with Bankruptcy Local Rule 3007-1(a), true and correct copies of the Owner

19 Claims are attached, omitting any attachments, as exhibits A-I to this objection.

20            The basis for each of the Owner Claims noted above is a cooperative membership interest
21 in the Debtor. Each Owner Claim references, and in many instances attaches, such an

22 “associate” agreement. The amounts claimed represent either payments toward such interest or

23 amounts alleged to be owing to the claimant under such cooperative membership agreement.

24 These claims fall within Class 5 of the confirmed plan of reorganization in this case (the “Plan”).

25 Pursuant to Plan, Class 5 claims are treated as follows: “The existing membership interests in the

26 Debtor shall be deemed cancelled as of the Effective Date and the holder(s) of those interests
27 shall receive nothing.” (Dkt. No. 753 at 17:25-27). The Liquidating Trustee respectfully
28

     Objection to Claims by Owners                                                                            2
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 1
     requests that the Owner Claims be disallowed in their entirety, in accordance with the terms of
 2
     the Plan.
 3
              In addition to being objectionable as a Class 5 claim, as noted above, several of the
 4
     Owner Claims also have other grounds upon which they should be denied.
 5
              Late-Filed Claim. Claim Nos. 286-3, 287, 288, 293 and 368 should also be denied as
 6
     not timely filed. The Claims Bar Date for such claims was May 16, 2016. Since these claims
 7
     were filed well after this deadline, they should also be disallowed in their entirety solely on that
 8
     basis.
 9
              Duplicate Claims. Claim No. 274 by Earl F. Moore also appears to duplicate, at least in
10
     part, of Claim No. 273 by Earl F. Moore. Likewise, Claim No. 288 by William Morrow appears
11
     to be a duplicate of Claim No. 287 by William Morrow. The Liquidating Trustee asserts this is
12
     an independent basis for the denial for Claim Nos. 274 and 288.
13
              Claims Not Entitled to Priority. Claim Nos. 273 and 274 by Earl F. Moore also allege
14
     they are entitled to priority treatment under Bankruptcy Code § 507(a)(4) as wages, salaries or
15
     commissions. However, both claims attach the “Associate Agreement” as the basis of the
16
     claims. The Liquidating Trustee further objects to Claim Nos. 273 and 274 on the basis that they
17
     do not qualify for priority treatment under Bankruptcy Code § 507(a)(4).
18
              Claims Not Based on a Lease, Subject to Setoff or Secured. Finally, Claim No. 272
19
     by Peter Witt and Claim Nos. 287 and 288 by William Morrow alleged they are “based on a
20
     lease” on question 10 of the proof of claim form. However, Mr. Morrow signed Claim No. 287
21
     as “Yellow cab TPC member” and he describes the basis of his claim as “payed Yellow Cab
22
     33,000,00 for membership in Yellow Cab Co. Op” on question 8 of Claim No. 288. Similarly,
23
     Mr. Witt attaches not a “lease” but rather his “Full Association Agreement” as the basis for his
24
     claim. Mr. Witt also alleges his claim is subject to “setoff” for “stock” and is “secured” by
25
     “stock” valued at $30,000. The Liquidating Trustee asserts that Claim Nos. 272, 287 and 288 are
26
     not “based on a lease.” Rather, as indicated in the proofs of claim themselves, these claims
27
     solely arise from and are based upon cooperative ownership agreements for the Debtor. The
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     Objection to Claims by Owners                                                                          3
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 1
     Liquidating Trustee further objects to Claim Nos. 272, 287 and 288 to the extent that they allege
 2
     to be subject to a lease, setoff or security interest.
 3
             For each of these reasons, the Liquidating Trustee respectfully requests that the Court
 4
     enter an order disallowing each of the Owner Claims in its entirety.
 5

 6
                                     NOTICE AND OPPORTUNITY FOR HEARING
 7
             NOTICE IS HEREBY GIVEN, pursuant to Federal Rule of Bankruptcy Procedure 3007,
 8
     as modified by Bankruptcy Local Rule and 9014-1, that:
 9           (1) Any objection to the requested relief, or a request for hearing on the matter, must be
             filed and served upon the initiating party within 30 days of mailing the notice;
10

11           (2) Any objection or request for a hearing must be accompanied by any declarations or
             memoranda of law any requesting party wishes to present in support of its position;
12
             (3) If there is no timely objection to the requested relief or a request for hearing, the court
13           may enter an order granting the relief by default.
14
             (4) In the event of a timely objection or request for hearing, the initiating party will give
15           at least seven days written notice of the hearing to the objecting or requesting party, and
             to any trustee or committee appointed in the case.
16

17    Dated: October 31, 2018                           MICHELSON LAW GROUP
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19                                                      By:            / s / Randy Michelson
                                                                           Randy Michelson
20                                                                Attorneys for Liquidating Trustee
                                                                           Randy Sugarman
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     Objection to Claims by Owners                                                                           4
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